Case 5:05-cv-00202-FPS-JES Document 817 Filed 12/30/10 Page 1 of 2 PagelD #: 12883

FILED: December 30, 2010

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

 

No. 09-2135
(5:05-cv-00202-FPS-JES)

CSX TRANSPORTATION, INCORPORATED
Plaintiff - Appellant
Vv.

ROBERT V. GILKISON; PEIRCE, RAIMOND & COULTER, PC, a/k/a Robert
Peirce & Associates, P.C., a Pennsylvania Professional
Corporation; JOHN DOES; ROBERT N. PEIRCE, JR.; LOUIS A. RAIMOND;
MARK T. COULTER; RAY A. HARRON, Dr.

Defendants - Appellees
and
RICHARD CASSOFF, M.D.
Party-in-Interest
LUMBERMENS MUTUAL CASUALTY COMPANY

Intervenor

AMERICAN SOCIETY OF RADIOLOGIC TECHNOLOGISTS; AMERICAN TORT
REFORM ASSOCIATION; ASSOCIATION OF AMERICAN RAILROADS; DANIEL E.
BANKS; COALITION FOR LITIGATION JUSTICE, INCORPORATED; ALFRED
FRANZBLAU; LAWRENCE MARTIN; NATIONAL ASSOCIATION OF
MANUFACTURERS; PROPERTY CASUALTY INSURERS ASSOCIATION OF
AMERICA; VIRGINIA SOCIETY OF RADIOLOGIC TECHNOLOGISTS;
WASHINGTON LEGAL FOUNDATION; WEST VIRGINIA CHAMBER OF COMMERCE

Amici Supporting Appellant
Case 5:05-cv-00202-FPS-JES Document 817 Filed 12/30/10 Page 2 of 2 PagelD #: 12884

 

JUDGMENT

 

In accordance with the decision of this Court, the
judgment of the District Court is affirmed in part and vacated
in part. This case is remanded to the District Court for further
proceedings consistent with the Court's decision.

This judgment shall take effect upon issuance of this
Court's mandate in accordance with Fed. R. App. P. 41.

/s/ PATRICIA S. CONNOR, CLERK
